         Case 3:23-cv-01103-MPS Document 99 Filed 03/19/24 Page 1 of 1




                                                                          James T. (Tim) Shearin
                                                                          850 Main Street
                                                                          P.O. Box 7006
                                                                          Bridgeport, CT 06601-7006
                                                                          p 203 330 2240
                                                                          f 203 576 8888
                                                                          jtshearin@pullcom.com
                                                                          www.pullcom.com

March 19, 2024

By Electronic Filing

Hon. Kari A. Dooley
Brien McMahon Federal Building
United States Courthouse
915 Lafayette Boulevard
Suite 417
Bridgeport, CT 06604

       Re: Boehringer Ingelheim Pharmaceuticals, Inc. v. U.S. Dept. of Health &
           Human Services et al., No. 3:23-cv-1103

Dear Judge Dooley:

        I am writing to request a status conference regarding Boehringer Ingelheim
Pharmaceuticals, Inc. v. U.S. Dept. of Health & Human Services et al., No. 3:23-cv-1103, which
presents constitutional challenges to the Inflation Reduction Act’s Drug Pricing Program, as well
as Administrative Procedure Act challenges to implementation of that Program by the Centers for
Medicare and Medicaid Services (CMS). Judge Chatigny issued an order on February 27, 2024
reassigning the Boehringer Ingelheim case to your docket, and the case is fully briefed (on the
parties’ cross-motions for summary judgment).

        We request a status conference for two main reasons. First, the Drug Pricing Program at
issue in this case involves several statutory deadlines—including an August 1, 2024 deadline for
Boehringer Ingelheim to sign an “agreement” to the “maximum fair price” prescribed by CMS—
that we would like to bring to the Court’s attention. The parties took those deadlines into account
in fashioning the briefing schedule for this case (which Judge Chatigny adopted), and they may
bear on the Court’s consideration of the pending motions. Second, we believe that oral argument
would benefit the Court and the parties given the nature of the issues raised in this suit, and we
would appreciate an opportunity to discuss with the Court the possibility of (and potential timing
for) oral argument in this matter. We consulted with counsel for Defendants regarding this
request and were advised that Defendants take no position.

Sincerely,


James T. (Tim) Shearin
Counsel for Plaintiff Boehringer Ingelheim Pharmaceuticals, Inc.

cc: All Counsel of Record
